                Case 1:23-cv-00154-LGS Document 21 Filed 04/26/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------   X
                                                                  :
 KIRAN VUPPALA,                                                   :
                                             Plaintiff,           :
                                                                  :      23 Civ. 154 (LGS)
                            -against-                             :
                                                                  :           ORDER
 FELIX ROASTING COMPANY, et al.,                                  :
                            Defendant.                            :
                                                                  :
 -------------------------------------------------------------    X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the initial pretrial conference in this matter is scheduled for May 3, 2023.

        WHEREAS, no significant issues were raised in the parties’ joint letter or proposed case

management plan. It is hereby

        ORDERED that the May 3, 2023, initial pretrial conference is CANCELLED. If the parties

believe that a conference would nevertheless be useful, they should inform the court immediately so the

conference can be reinstated. The case management plan and scheduling order will issue in a separate

order. The parties’ attention is directed to the provisions for periodic status letters, and the need for a

pre-motion letter to avoid cancellation of the final conference and setting of a trial date. It is further

        ORDERED that if Defendant(s) seek to file a motion to dismiss, they shall file a pre-motion

letter pursuant to Individual Rules III.A.1 and III.C.2. It is further

        ORDERED, regarding settlement discussions, the parties’ request for a referral to mediation is

GRANTED. The referral will issue in a separate order.

        The parties should be aware that the Court does not extend the deadlines for fact and expert

discovery absent compelling circumstances.

Dated: April 26, 2023
       New York, New York
